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                       UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION


 IN RE:

 JUDITH HOLMES                                                       CASE NO 19-25604-RAM
 aka JUDITH M. HOLMES
 aka JUDITH M. HAYNES                                                CHAPTER: 13

      Debtor.
__________________________/

   RESPONSE TO DEBTOR’S OBJECTION TO CLAIM ON SHORTENED NOTICE
                              [DE 29]

       Creditor, Nationstar Mortgage LLC d/b/a Mr. Cooper, (“Creditor”), by and through its
undersigned counsel, hereby files this Response to Debtor’s Objection to Claim on Shortened
Notice [DE 29] (the “Response”) and in support, states the following:
       1.      Creditor holds a secured mortgage on real property owned by Debtor located at
17720 NW 41st Avenue, Miami Gardens FL 33055 (the “Subject Property).
       2.      Creditor affirms that a timely Proof of Claim [Claim No. 1-1] (hereinafter the
“Claim”) was filed on December 20, 2019, in the amount of $143,365.44 in secured mortgage debt
and $18,598.14 in total debt.
       3.      On March 5, 2020, Debtor filed an Objection to Claim on Shortened Notice [DE
29] (hereinafter the “Objection”) alleging 1) the Creditor is demanding fees to which it is not
entitled. Creditors Claim No, 1-1, lists Corporate Advances, to which the Debtor objects to the
four entries of “posting costs” of $70.00, $70.00, $911.00 and $5.00 for a total of $1,056.00.
Debtor also objects to the Foreclosure Sale Publication fee in the amount of $225.00, since the
Debtor filed her Suggestion of Bankruptcy in the State Foreclosure case on December 27, 2019.
Debtor proposes the amount of arrears to be reduced by $1,281.00 for a total arrears of $17,317.14.
       5.      Creditor requests additional time to research the validity of the allegations set forth
in the Debtor’s Objection.
       6.      This matter has been scheduled for a hearing on April 7, 2020 at 9:00 AM, at C.
Clyde Atkins U.S. Courthouse, 301 N Miami Ave Courtroom 4.




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       7.      Creditor reserves the right to supplement and/or amend this Response in the future.


       WHEREFORE, Nationstar Mortgage LLC d/b/a Mr. Cooper, respectfully requests that this
Court allow additional time for the Creditor to address the allegations outlined in the Debtor’s
Objection, and awarding any and all other relief that this Court deems just and appropriate.




                                                      /s/ Ella Roberts
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                                                      813-221-4743 EXT. 1611

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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing Response to Debtor’s
 Objection to Claim, was provided via electronic and/or regular U.S. Mail to the parties on the
 attached service list, this 13th day of March 2020.


SERVICE LIST

Debtor
Judith Holmes
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Opa Locka, FL 33055

Debtor’s Attorney
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Legal Services of Greater Miami, Inc.
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Miami, FL 33134

Trustee
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U.S. Trustee
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51 S.W. 1st Ave.
Suite 1204
Miami, FL 33130


                                                         /s/ Ella Roberts
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